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 4   Attorney for
     TIFFANY L. CARROLL
 5   ACTING UNITED STATES TRUSTEE

 6                        UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF CALIFORNIA
 7

 8   In re:                            )            Case No. 18-06051-LT11
                                       )
                                       )            UNITED STATES TRUSTEE’S
 9                                     )            MOTION TO CONVERT CASE TO
     CHRISTOPHER D. DOUGHERTY )                     ONE UNDER CHAPTER 7, OR IN
10   and NEREIDA I. DOUGHERTY,         )
                                       )            THE ALTERNATIVE, FOR
                                       )            APPOINTMENT OF CHAPTER 11
11                                     )            TRUSTEE
                                       )
                                       )            Hearing Date:
12               Debtors in Possession )            Hearing Time:
                                       )            Judge: Laura S. Taylor
13

14
              NOW COMES, the United States Trustee (“UST”), by and through her
15
     attorneys, and for her Motion To Convert Case To One Under Chapter 7, Or In the
16
     Alternative, For Appointment of Chapter 11 Trustee, states as follows:
17
              Following the testimony of the Debtors at three sessions of the 341 Meeting
18
     of Creditors, and the review of hundreds of documents regarding the Debtors’
19
     financial affairs and business operations, it is apparent that the case must be
20
     converted due to the Debtors’ unexcused failures to satisfy timely the filing and
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                                                1
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 1   reporting requirements and to timely provide information reasonably requested by

 2   the UST; the Debtors’ gross mismanagement of the Estate post-petition; and the

 3   continuing and substantial losses to the Estate and the absence of a reasonable

 4   likelihood of rehabilitation.

 5         The UST has formed the preliminary view that the Debtors do not engage in

 6   business operations that would justify the appointment of a Chapter 11 Trustee.

 7   However, the Debtors have not been forthcoming in their testimony at the 341

 8   Meeting of Creditors and new facts regarding the scope and nature of their

 9   business interests frequently come to light. In addition, the Debtors are members

10   and shareholders of at least three closely-held companies, some of which appear to

11   have active and substantial business operations. As a result, the UST requests the

12   alternative relief of the appointment of a Chapter 11 Trustee, pursuant to Section

13   1104 of the Bankruptcy Code, for cause based upon fraud committed by the

14   Debtors prior to the commencement of the case and gross mismanagement of the

15   Debtors after commencement of the case.

16   //

17   //

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 1                                        FACTUAL BACKGROUND

 2           Post-Petition Compliance Deficiencies And Business And Financial
                                     Mismanagement
 3

 4            The Debtors filed their voluntary petition under Chapter 11 on October 9,

 5   2018. 1 All of the Debtors’ monthly operating reports were filed late as follows:

 6            Court Doc Number                Period                                 Date Filed
              98                              October 2018                           January 16, 2019
 7            99                              November 2018                          January 16, 2019
              122                             December 2018                          February 5, 2019
 8            153                             January 2019                           February 27, 2019
 9
     See Declaration of Kenneth Dennis dated March 13, 2019 at ¶ 3.
10
              The Debtors are the majority or sole owners and members of the following
11
     entities:
12
             Entity                                           Percentage Owned
13           C&D Professional Services, Inc.                  100%
             JTA Farm Enterprises, LLC                        85%
14
             JTA Real Estate Holdings, LLC                    100%
             RD3, Inc.                                        100%
15

16
     See Dennis Decl. at 12.
17
              During the course of the three sessions of the 341 meeting of creditors, and
18
     thereafter, the UST requested that the Debtors provide numerous documents
19

20   1 The UST requests that the Court take judicial notice of the docket and the filings in this case pursuant to F.R.E.
     201.
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                                                               3
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 1   concerning their business and financial affairs, as well as explanations for

 2   transactions appearing in the monthly operating reports. See Dennis Decl. at ¶ 1.

 3   The Debtors have failed to provide numerous items requested by the UST

 4   including providing evidence of the opening of DIP bank accounts and the closing

 5   of their prepetition accounts. See Exh. 1 to Dennis Decl. Upon information and

 6   belief, the Debtors have failed to open any debtor-in-possession bank accounts and

 7   have failed to close their pre-petition accounts.

 8         Among the currently outstanding documents requested by the UST are the

 9   following key items: bank statements for 22 additional bank accounts, the

10   existence of which was independently discovered by the UST and not disclosed by

11   the Debtors; questions regarding a bar and an investment represented by the

12   Debtors to being held for the benefit of the Debtors’ children while income is

13   being received by the Debtors; records concerning numerous cash withdrawals in

14   amounts over $500; bank statements for accounts held in the names of the Debtors’

15   children; a detailed list of all real and personal property (value over $200) in the

16   possession or control of the Debtors or any of their affiliated entities as of the

17   petition date; copies of paypal and Venmo statements; and 38 questions on activity

18   reported in the monthly operating reports. See Dennis Decl. at ¶ 1.

19         The Debtors provided a list of responses to the 38 questions concerning the

20   monthly operating reports on March 8, 2019. See Dennis Decl. at ¶ 2; Exh. 12 to

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 1   Dennis Decl. However, in almost every instance, the explanation was inadequate to

 2   justify the disbursement from Estate funds. The Debtors paid the expenses of adult

 3   family members, expenses for other entities, or failed to provide the requested

 4   documentation for over $35,000 in disbursements for the time period October 9,

 5   2018 through December 31, 2018. A detailed list of the unjustified disbursements

 6   is set forth in paragraph 2 of the Dennis Declaration.

 7         The operating reports show that the Debtors have continued to spend

 8   amounts on themselves that appear to be excessive or unusual. They also show

 9   that the Debtors paid expenses post-petition totaling $15,099.76 for other entities.

10   See Exh. 12 to Dennis Decl. A chart outlining the expenses paid by the Debtors

11   post-petition for their related entities is set forth in paragraph 4 of the Dennis

12   Declaration.

13         The operating reports filed in this case report the following income and

14   expense activity:

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16

17

18   See Dennis Decl. at ¶ 5.

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 1         The operating reports do not generally reveal income from business

 2   activities. Rather, the operating reports reveal transfers and deposits from

 3   unknown sources. See Dennis Decl. at ¶ 6.

 4         On November 19, 2018, the Court entered an Order allowing Ms. Dougherty

 5   to use her $6,527.33 net monthly salary from San Diego Mesa College for living

 6   expenses. See Dennis Decl. at ¶ 7. On February 7, 2019, the Court entered an

 7   Order (Docket No. 126) allowing the Debtors to use $3,500 per month owner

 8   withdrawal from JTA Real Estate Holdings, LLC (“JTA Real Estate”) and $3,000

 9   per month owner withdrawal from JTA Farm Enterprises, LLC (“JTA Farms”) for

10   living expenses. See Dennis Decl. at ¶ 8. The total amounts that the Court

11   authorized the Debtors to use was $13,027.33. See Dennis Decl. at ¶ 9.

12         The amount of disbursements reported in the November 2018 and December

13   2018 operating reports exceed the authorized amounts by $16,736.94 for

14   November 2018 and $12,650.62 for December 2018 as follows:

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18

19   See Dennis Decl. at ¶ 9.

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 1         The operating reports reflect that the Debtors also appear to be regularly

 2   transferring Estate funds to and from family member accounts without Court

 3   approval and for unknown reasons. See Dennis Decl. at ¶ 10. The UST has

 4   requested, but has not received, copies of bank statements for the Debtors’ minor

 5   children. A detailed list of the transfers reported in the operating reports is set

 6   forth in paragraph 10 of the Dennis Declaration. These transfers include numerous

 7   deposits into the Debtors’ account from accounts apparently belonging to the

 8   minor children, which have not been disclosed by the Debtors, as well as

 9   disbursements made to the minor children. Id.

10         The operating reports do not include copies of the disbursement checks.

11   Dennis Decl. at ¶ 11. The operating reports reflect regular bank deposits but

12   provide little information regarding the source or purpose of the funds. Id. The lack

13   of disclosure makes it difficult for creditors and the UST to monitor and

14   understand the Debtors’ financial activities and to evaluate whether the Debtors are

15   acting in the best interest of the Estate. Id.

16         At the Section 341 meeting held on January 15, 2019, Mr. Dougherty

17   testified that JTA Real Estate would be filing Chapter 11 and would file a joint

18   plan of reorganization with the Debtors. Dennis Decl. at ¶ 13. He testified that the

19   Plan would be funded by the sale of the ranch located at 21702 Japatul Rd. in

20   Alpine, California and through income produced from the use of the trucks owned

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 1   by JTA Real Estate. Id. The trucks owned by JTA Real Estate are operated by

 2   RD3, Inc. Dennis Decl. at ¶ 14.

 3         The Debtors have filed four Rule 2015.3 periodic reports for RD3, Inc.,

 4   which collectively cover the time period January 2016 through January 2019. Id.

 5   The profit and loss statements included with the reports are summarized as

 6   follows:

 7                                           11 months
                                               ended        December            January
 8                          2017              11/30/18        2018               2019
      Total income         612,702.45         328,053.99         0.00                 0.00
 9    Total
      expenses             605,086.36         324,091.80      1,236.23                0.00
10    Net gain/loss          7,616.09           3,962.17     <1,236.23>               0.00
11
     See Dennis Decl. at ¶ 14.
12
           These reports reflect net gains and losses that demonstrate that RD3, Inc.’s
13
     operations do not have the ability to fund a plan. Dennis Decl. at ¶ 16.
14
     Furthermore, a review of the associated general ledgers shows that 71.2% of the
15
     income reported income for 2017 and 86.6% of the income reported for 2018 was
16
     for work performed for entities controlled by the Debtors. Dennis Decl. at ¶ 15. A
17
     summary of the reported income of RD3, Inc. is set forth in paragraph 15 of the
18
     Dennis Declaration.
19

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 1         The Rule 2015.3 reports show that RD3, Inc. does not have revenues from

 2   third party customers that could fund a chapter 11 plan. Dennis Decl. at ¶ 16.

 3   There is no basis to conclude that the Debtors have experience operating a

 4   business, using the trucks owned by JTA Real Estate, with revenues sufficient to

 5   fund a chapter 11 plan. Id.

 6         In addition, the Rule 2015.3 reports filed by the Debtors for JTA Real Estate

 7   and JTA Farms also demonstrate the Debtors’ inability to profitably operate a

 8   business. Dennis Decl. at ¶ 17. The Rule 2015.3 reports filed for JTA Real Estate

 9   reflect losses for all periods except for January 2018 - November 2018 which

10   purports to report a gain of $96,963.35. Dennis Decl. at ¶ 17. A chart summarizing

11   the income and expenses for JTA Real Estate is set forth in paragraph 17 of the

12   Dennis Declaration.

13         Included in the January to November 2018 profit and loss statement is a

14   negative expense of $574,794.15 described as “Reconciliation Discrepancies.”

15   When the UST adjusted the profit and loss statement for this negative expense, the

16   adjustment resulted in a loss of <$477,830.80> as follows:

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 6
     Dennis Decl. at ¶ 18.
 7
           The Rule 2015.3 reports filed by the Debtors for JTA Farms include
 8
     questionable accounting. When the UST made appropriate adjustments, the
 9
     adjustments resulted in a net loss in 2017 of <$194,387.64.>. Dennis Decl. at ¶ 19
10
     – 20. A detailed description of the adjustments made to the 2017 profit and loss
11
     statement for JTA Farms is set forth in paragraphs 19 and 20 of the Dennis
12
     Declaration.
13
           The profit and loss statement included with the Rule 2015.3 report for
14
     January to December 2018 reflects a loss of <$78,498.16>. Dennis Decl. at ¶ 21.
15
     This report also contains unusual accounting. Dennis Decl. at ¶ 22. The general
16
     ledger included with the report reveals that $105,000 in income consisted of
17
     “equity deposits” received from the “Dougherty Family Trust Fund”. Id. These
18
     deposits consisted of six $15,000 monthly receipts received between February 1,
19

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 1   2018 and July 1, 2018. Id. The general ledger also reports $155,097.77 in

 2   “Reconciliation Discrepancies” that are not explained in the report. Id.

 3         When the UST adjusted the 2018 profit and loss statement for “equity

 4   deposits” and “reconciliation discrepancies”, the adjusted net loss for this period

 5   was <$28,379>. Dennis Decl. at ¶ 23. Detailed charts outlining the UST’s

 6   calculations for JTA Farms’ profit and loss are set forth in paragraphs 21 through

 7   23 of the Dennis Declaration.

 8         The profit and loss statement included with the 2015.3 report for January

 9   2019 for JTA Farms also includes a $15,000 equity deposit apparently received in

10   January 2019 and classified as income. Dennis Decl. at ¶ 24. The general ledger

11   included with the report did not include an account for equity contributions.

12   Therefore, the UST was unable to determine if the source of the $15,000 was also

13   the Dougherty Family Trust Fund. Dennis Decl. at ¶ 25. The Debtors’ January

14   2019 Operating Report does not include any disclosure about this $15,000, and

15   does not reference the Dougherty Family Trust Fund. Id.

16         The operating reports and the motions for relief from the automatic stay filed

17   in this case report that the Debtors are delinquent on the pre and post-petition

18   mortgage obligations. Dennis Decl. at ¶ 26. The January 2019 Operating Report

19   reports post-petition delinquencies to HSBC and Lyon/Chestnut. Id.

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 1         The Court docket for this case reveals that 12 adversary complaints

 2   predicated on section 523 to determine dischargeability of debt have been filed

 3   against the Debtors. A detailed summary of these adversary proceedings is set

 4   forth in paragraph 28 of the Dennis Declaration.

 5         The entities owned by the Debtors have demonstrated pre-petition and post-

 6   petition that they do not have the ability to generate net income that can be used to

 7   fund a plan. See Dennis Decl. at ¶ 29. RD3, Inc. is not operating and neither JTA

 8   Farms nor JTA Real Estate is able to produce net income. Id. The Debtors and

 9   their entities have been unable to timely pay their monthly post-petition mortgage

10   payments and appear to have no ability to fund the defense of the 12 adversary

11   proceedings. Indeed, it was reported by Debtors’ counsel on the record during the

12   hearing on February 28, 2019 that the Debtors had instructed him not to oppose

13   any adversary proceeding and to stipulate to the full amount being requested in

14   each adversary complaint. The liability of the Estate attributable to these adversary

15   proceedings is currently unknown.

16                         Pre-Petition Fraud and Ponzi Scheme

17         The following bank statements were provided to the UST by the Debtors for

18   C&D Professional Services Inc. (“C&D”) for 2018:

19                                 Account
      Bank                         Number Periods covered
20    US Bank                      1002    November 24, 2017 to March 31, 2018

21
                                              12
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 1    Bank of America                3774        January 1, 2018 to November 30, 2018
      San Diego County Credit        8337        March 9, 2018 to August 31, 2018
 2    Union

 3
     Dennis Decl. at ¶ 30.
 4
           The UST was able to independently obtain copies of many of the counter
 5
     withdrawals, deposit information, and check copies not included with the provided
 6
     bank statements (“Additional Banking Documents”). Dennis Decl. at ¶ 31. A
 7
     review of the bank statements provided by the Debtor and the Additional Banking
 8
     Documents reveals that C&D received eight amounts totaling $1,159,378.46 from
 9
     investors between December 8, 2017 and May 2, 2018. Id. A detailed list of these
10
     investments is set forth in paragraph 31 of the Dennis Declaration.
11
           The UST was unable to find evidence from the review of the bank
12
     statements that that these funds were directly invested or used for the benefit of
13
     these investors. Dennis Decl. at ¶ 32. Instead the funds were deposited into bank
14
     accounts belonging to C&D then immediately thereafter, the deposits were either:
15
     (1) disbursed to other investors (and sometimes the same investor) and noted on
16
     the check as “dividends” or “principal”; (2) transferred to the Dougherty Family
17
     Trust; (3) used for C&D operating expenses (or possibly operating expenses of
18
     other affiliated entities); or (4) used to pay the personal expenses of Chris
19

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 1   Dougherty, with a large portion of these funds having been withdrawn by Chris

 2   Dougherty at bank branches.

 3           The Debtors filed four Rule 2015.3 periodic reports for C&D with the Court

 4   covering the time period January 2016 through January 2019. See Dennis Decl. at

 5   ¶ 33.

 6           The reports included general ledgers for the periods covered by the reports.

 7   See Dennis Decl. at ¶ 34. The UST reviewed the general ledgers to gain an

 8   understanding of how C&D was accounting for investor funds deposited into its

 9   accounts. The UST was unable to find five investor deposits, or any accounting

10   for them, in the general ledgers. Id. A detailed list of the investor deposits that are

11   missing from the C&D general ledgers is set forth in paragraph 34 of the Dennis

12   Declaration.

13           The UST also notes that the general ledger included with the November 30,

14   2018 report did not clearly identify an additional three of the investor deposits. It

15   appears to the UST that the amounts were recorded as C&D revenue and income

16   instead of as a trust liability for investor funds. See Dennis Decl. at 35-36.

17           The UST has preliminary determined how the Debtors expended the

18   $1,159,378.46 of investor funds, which is detailed as follows.

19           The balance in US Bank account ending in 1002 was $3,599.73 when

20   $300,000 was received from the Spruill Family Trust on December 8, 2017. See

21
                                               14
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 1   Dennis Decl. at ¶ 38. By December 19, when most of the funds had been spent, the

 2   balance of the account had been reduced to $32,109.87. See Id.; Exh. 2, 3 to

 3   Dennis Decl.

 4           From the bank documents, the UST prepared an accounting of how the

 5   $300,000 was spent. Id. Legible notations from copies of the investor canceled

 6   checks in Exhibit 3 are designated with quotation marks:

 7                                                         With/
      Date       Ck#    Paid to/Received from   Deposits drawals    Balance Description
 8                      Beginning bank
                        balance                                       3,600
      12/8/17           Wire credit              300,000            303,600   Spruill Family Trust
 9
      12/8/17           Customer Withdrawal                30,000   273,600   W/D Chris Dougherty
      12/8/17           Customer Withdrawal                16,000   257,600   W/D Chris Dougherty
10
      12/8/17           Customer Withdrawal                     7   257,593   W/D Chris Dougherty
      12/8/17           Customer Withdrawal                28,000   229,593   W/D Chris Dougherty
11
      12/8/17    119    Chase Marriott                      8,500   221,093   Credit Card Payment
                        Rewards
12    12/8/17           Customer Withdrawal                    60 221,033     W/D Chris Dougherty
      12/8/17           Customer Withdrawal                40,007 181,026     W/D Chris Dougherty
13    12/8/17           Customer Withdrawal                16,000 165,026     W/D Chris Dougherty
      12/11/17   116    Alan Silver                         6,431 158,595     “Div”
14    12/11/17   115    James Lara                          1,212 157,383     Payment to investor
      12/11/17          Customer Withdrawal                15,000 142,383     W/D Chris Dougherty
15    12/11/17   118    Navy Federal CC                     8,500 133,883     Credit card payment
      12/11/17          Egnyte Inc                             45 133,838     Office expense
16    12/11/17          Shell Service Station                  75 133,763     Auto expense
      12/12/17          Customer Withdrawal                20,000 113,763     W/D Chris Dougherty
17    12/12/17          Customer Withdrawal                20,000  93,763     W/D Chris Dougherty
      12/12/17          Customer Withdrawal                10,000  83,763     W/D Chris Dougherty
18    12/12/17          Temecula Creek I                       54  83,709     Personal travel
      12/12/17          Springhill Suite                      371  83,338     Personal travel
      12/13/17          Fusion Investment          3,288           86,626
19
      12/13/17   117    Bryan Dougherty                    10,425 76,201      Payment to family
                                                                              member
20
      12/13/17          DLX FOR SMALLBUS                     155     76,046 Office expense

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                                                  15
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 1    12/14/17   121317 Navy Federal CU                    4,501    71,545   Credit card payment
      12/14/17          Safeco Insurance                   1,011    70,534   Insurance
 2    12/15/17   106    Sharon Vega                          127    70,407   “3rd Quarter”
      12/15/17   120    Hank Austin                        1,738    68,669   Payment to investor
 3    12/15/17          Customer Withdrawal                2,000    66,669   W/D Chris Dougherty
      12/18/17          Kenneth Miller                90            66,759   Other
 4    12/18/17          Compupay Inc                  17            66,776   Other
      12/18/17   118    Elena Totten                        1,650   65,126   Payment to investor
 5    12/18/17   123    Melba Summers                       5,000   60,126   “Prin Dist”
      12/18/17   1000   Chase Card Services                 1,900   58,226   Credit card payment
 6    12/18/17           Customer Withdrawal               10,000   48,226 W/D Chris Dougherty
      12/18/17           D Lish Express                             48,205 Meals
                                                              21
 7
      12/18/17           Katsu Seafood                              48,130 Meals
                                                               75
 8    12/18/17           CAT Commercial A                   4,637   43,492   Equipment payment
      12/19/17 121       Sixta Loyo                           200   43,292   “3rd qrt Div”
 9    12/19/17           Customer Withdrawal                2,000   41,292   W/D Chris Dougherty
      12/19/17           Customer Withdrawal                9,000   32,292   W/D Chris Dougherty
10    12/19/17           Customer Withdrawal                    7   32,285   W/D Chris Dougherty
      12/19/17           Romanos 1283                          79   32,206   Meals
11    12/19/17           Destination XL                        97   32,110   Personal clothing

12
     Dennis Decl. at ¶ 38.
13
             The balance in US Bank account ending in 1002 was $32,109.87 when
14
     $200,000.00 was received from the Spruill Family Trust on December 19, 2017.
15
     See Dennis Decl. at ¶ 39. By December 22 when the funds had been spent, the
16
     balance in the account had been reduced to $25,485.45. Id.; Exh. 2, 3 to Dennis
17
     Decl.
18

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                                                 16
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 1           From the bank documents, the UST prepared an accounting of how the

 2   $200,000 was spent. Id. Legible notations from copies of the investor canceled

 3   checks in Exhibit 3 are designated with quotation marks:

 4                                                        With/       Bank
      Date       Ck #   Paid to/Received from   Deposit drawals    Balance Description
 5    12/19/17          Beginning bank                              32,110
                        balance
      12/20/17          Wire credit             200,000            232,110 Spruill Family Trust
 6
      12/20/17          Customer Withdrawal               10,007   222,103   W/D Chris Dougherty
      12/20/17          Customer Withdrawal               30,000   192,103   W/D Chris Dougherty
 7
      12/20/17          Return item credit           7             192,110   Returned item credit
      12/20/17          Customer Withdrawal                5,000   187,110   W/D Chris Dougherty
 8
      12/20/17          Customer Withdrawal               10,000   177,110   W/D Chris Dougherty
      12/20/17          The Soco Group                     3,367   173,742   Construction
 9
      12/20/17          The Ofelia R Arellano             18,000   155,742   Payment to investor
                        Trust DTS
10    12/21/17 124      Melba Summers                      5,000   150,742   “Prin Dist”
      12/21/17 3001     Estafani nieto                     2,550   148,192   Payroll
11    12/21/17          Casual Male Xl                       374   147,818   Clothing
      12/21/17          George A Thompson                 60,000    87,818   Payment to investor
12                      Roberta L Thompson
      12/22/17          Customer Withdrawal               12,000    75,818 W/D Chris Dougherty
13    12/22/17          JTA Real Estate                   10,000    65,818 Transfer
                        Holdings
14    12/22/17          Hanover Insurance                    333    65,485 Insurance
      12/22/17          Georg E A Thompson                40,000    25,485 Payment to investor
15                      Roberta L Thompson


16
     Id.
17
             The balance in US Bank account ending in 1002 was $8,329.10 when
18
     $219,378.46 was received from the Taniyama Recoverable Trust on January 18,
19
     2018. See Dennis Decl. at ¶ 40. By January 24 when the funds had been spent, the
20

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                                                    17
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 1   balance of the account had been reduced to $1,208.79. Id.; Exh. 4, 5 to Dennis

 2   Decl.

 3           From the bank documents, the UST prepared an accounting of how the

 4   $219,378.46 was spent. Id. Legible notations from copies of the investor canceled

 5   checks in Exhibits 4 and 5 are designated with quotation marks:

 6                     Payee/ Description               With/   Bank
      Date      Ck #   of transaction          Deposits drawals Balance      Description
 7    1/17/18          Beginning bank                               8,329
                       balance
 8    1/18/18          Wire credit             219,378             227,708   Taniyama
                                                                             Recoverable Trust
 9    1/18/18          WestAir Gases &                    1,100    226,608   Construction
                       Equipment
10    1/18/18          Internet Banking                   6,000    220,608   Transfer to Dougherty
                       Transfer                                              Family Trust - US
                                                                             Bank 0756
11
      1/18/18          Internet Banking                   49,000   171,608   Transfer to Dougherty
                       Transfer                                              Family Trust - US
12                                                                           Bank 0757
      1/18/18          Customer Withdrawal                10,500   161,108   W/D Chris Dougherty
13    1/18/18          Deposit item                       15,755   145,353   Return check # 992
                       returned                                              from C&D BofA
14                                                                           account #3774
      1/18/18          Customer Withdrawal                13,000   132,353   W/D Chris Dougherty
15    1/19/18          The Ofelia R Arellano              10,000   122,353   Payment to investor
                       Trust DTS
16    1/19/18          Carol Pouliot Poway                20,000   102,353   Payment to investor
                       CA
17    1/19/18 3005 Jerry and Anita Cole                   6,502    95,850    “CN0026”
      1/19/18      Fedex                                     22    95,829    Office expense
18    1/19/18      Internet Banking                       2,000    93,829    Dougherty Family
                   Transfer                                                  Trust - US Bank 0756
19    1/19/18          Mobile Banking                     12,000   81,829    Dougherty Family
                       Transfer                                              Trust - US Bank 0756

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 1    1/19/18          Deposited item                   18,975   62,854   Return check # 993
                       returned                                           from C&D BofA
 2                                                                        account #3774
      1/22/18          Customer deposit         1,000            63,854   Whitney R Hulsey
 3    1/22/18          Family Auto Serv                 1,235    62,618   Auto expense
                       Alpine CA
 4    1/22/18          Andrew Myers                     1,790    60,828   Legal
      1/22/18          Buildin                          2,000    58,828   Other
      1/22/18          Internet banking                 4,000    54,828   Nereida &
 5
                       transfer                                           Christopher
                                                                          Dougherty - US Bank
 6                                                                        0822
      1/22/18          Customer Withdrawal               7,000   47,828   W/D Chris Dougherty
 7    1/22/18          Customer Withdrawal               8,000   39,828   W/D Chris Dougherty
      1/23/18   3004   Robin Kavamaugh                   1,840   37,988   Payment to investor
 8    1/23/18   3007   Cardmember Service                1,500   36,488   Credit card payment
      1/23/18          Customer Withdrawal              15,800   20,688   W/D Chris Dougherty
 9    1/23/18   3006   Jose Munoz                        1,800   18,888   Office expense
      1/23/18   3008   Cardmember Service                7,500   11,388   Credit card payment
10    1/24/18          The Ofelia R Arellano            10,000    1,388   Payment to investor
                       Trust DTS

11    1/24/18          Siggys 2                            39    1,349    Meals
      1/24/18          Dmi Dell Sm Bus                    141    1,209    Office expense

12
     Id.
13
             The balance in US Bank account ending in 1002 was $1,208.79 when
14
     $125,000 was received from the Spruill Family Trust on January 25, 2018. See
15
     Dennis Decl. at ¶ 41. By January 31 when most of the funds had been spent, the
16
     balance of the account had been reduced to $11,555.05. Id.; Exh. 4, 5 to Dennis
17
     Decl.
18
             From the bank documents, the UST prepared an accounting of how the
19
     $125,000 was spent. Legible notations from copies of the investor canceled
20
     checks in Exhibits 4 and 5 are designated with quotation marks:
21
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 1                                                        With/   Bank
      Date      Ck #   Paid to/Received from     Deposits drawals Balance     Description
 2    1/25/18          Beginning balance                              1,209
      1/25/18          Wire credit               125,000            126,209 Spruill Family Trust
 3    1/25/18          Internet Banking                    2,500    123,709 Nereida &
                       Transfer                                             Christopher
                                                                            Dougherty - US Bank
 4                                                                          0822
      1/25/18          Internet Banking                    15,000   108,709   C & N Dougherty - US
 5
                       Transfer                                               Bank 0756
      1/25/18          Non-Sufficient Funds                   36    108,673   Bank Fees
 6                     Fee
      1/26/18          DMI DELL SM BUS                      2,928   105,744   Office expense
 7    1/26/18          Customer Withdrawal                 22,000    83,744   W/D Chris Dougherty

 8    1/26/18 3011 Cana Technology                          1,245   82,499    Office expense
      1/29/18      Office Furniture                           344   82,155    OFFICE FURNITURE
 9    1/29/18      Toms Hay Farm                            4,800   77,355    Farm expense
      1/29/18      Customer Withdrawal                      5,900   71,455    W/D Chris Dougherty
10    1/29/18      Customer Withdrawal                     10,000   61,455    W/D Chris Dougherty
      1/29/18 3012 JTA Real Estate Holdings                 7,500   53,955    JTA Real Estate -
11                 LLC                                                        California Bank &
                                                                              Trust 8975

12    1/29/18          Customer Withdrawal                 4,000    49,955    W/D Chris Dougherty
      1/30/18 3014 Martha Pittson                            950    49,005    “CN0008 4th QTR
13                                                                            2017”
      1/30/18 3010 Elena Totten                            15,450   33,555    Payment to investor
      1/30/18      Family Auto Service                      2,020   31,535    Auto
14
      1/30/18      Customer Withdrawal                     10,500   21,035    W/D Chris Dougherty

15    1/31/18 3018 Alan & Aleica Silver                    6,431    14,604    “CN0023 4th QTR”
      1/31/18 3013 Jeffrey & Patricia Kiser                3,000    11,604    “CN0004 4th QTR
                                                                              2017”
16    1/31/18          Intuit Payroll                         49    11,555    Office

17
     Id.
18
             The balance in US Bank account 1002 was $7,471.77 when $125,000 was
19
     received from the Spruill Family Trust on February 2, 2018. See Dennis Decl. at ¶
20

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 1   42. By February 13 when most of the funds had been spent, the balance of the

 2   account had been reduced to $11,203.09. Id.; Exh. 6, 7 to Dennis Decl.

 3           From the bank documents, the UST prepared an accounting of how the

 4   $125,000 was spent. Legible notations from copies of the investor canceled

 5   checks in Exhibit 6 and 7 are designated with quotation marks:

 6

 7                                                     With/   Bank
      Date     Ck #   Paid to/Received from   Deposits drawals Balance     Description
 8    2/2/18          Beginning balance                            7,472
      2/2/18          Wire In                 125,000            132,472 Spruill Family Trust
 9    2/2/18          Mobile banking            3,000            135,472 Nereida &
                      transfer                                           Christopher
                                                                         Dougherty - US
10                                                                       Bank 0822
      2/2/18          DONALD J BIAGI                    5,671    129,801 Payment to
11
                                                                         investor
      2/2/18          CAROL POULIOT                     30,000    99,801 Payment to
12                                                                       investor
      2/2/18   3016 City Treasurer                         63     99,738 Tax
13    2/2/18        Customer Withdrawal                 5,500     94,238 W/D Chris
                                                                         Dougherty
14    2/2/18   3015 Bryan Dougherty                     4,059     90,179   Dougherty Family
                                                                           member
15    2/2/18          Customer Withdrawal               10,000    80,179   W/D Chris
                                                                           Dougherty

16    2/2/18          EGNYTE INC                           45     80,134   Office expense
      2/2/18          AMAZON.COM                        1,700     78,434   Amazon
      2/2/18          Internet banking                  3,000     75,434   Nereida &
17                    transfer                                             Christopher
                                                                           Dougherty - US
18                                                                         Bank 0822
      2/5/18   3022 Melba Summers                       1,410     74,024   “CN0017 4th QTR”
19    2/5/18        Wire Out                            1,488     72,537   Payment to
                                                                           investor
20    2/5/18          Customer Withdrawal               3,000     69,537   W/D Chris
                                                                           Dougherty
21
                                                   21
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 1    2/5/18    3026 JTA Farm - CBT 8983                   6,000   63,537   To Dougherty
                                                                            controlled company
 2    2/5/18         INTUIT QB ONLIN                          15   63,522   Office expense
      2/5/18         INTUIT QB ONLIN                          15   63,507   Office expense
 3    2/5/18         INTUIT QB ONLIN                          15   63,492   Office expense
      2/5/18         CARL S JR 110062                         16   63,476   Meals
 4    2/5/18         ALPINE SUSHI                             55   63,421   Meals
      2/5/18         DESTINATION XL                          493   62,928   Clothing
 5    2/6/18    3027 JTA Farm                              4,000   58,928   To Dougherty
                                                                            controlled company
      2/6/18    3031 Christopher                           2,000   56,928   W/D Chris
 6
                     Dougherty                                              Dougherty
      2/6/18    3032 RD3 Inc.                              2,000   54,928   To Dougherty
 7                                                                          controlled company
      2/6/18           AZTEC APPLIANCE                       30    54,898   Appliance or
 8                                                                          personal expense
      2/6/18           GLOBAL R USA                         495    54,403   Other
 9    2/6/18           AZTEC APPLIANCE                      650    53,753   Appliance or
                                                                            personal expense
10    2/6/18           MERCEDES BENZ OF                    1,999   51,754   Auto
      2/7/18           Reversal                      31            51,785   Bank Correction
11    2/7/18           Deposit                      393            52,177   Cheryl & Donald
                                                                            Biagi
12    2/7/18         Proof correction debit                   31   52,147   Bank Correction
      2/7/18    3028 Copysport                             1,664   50,483   Copier
13    2/7/18         EGNYTE INC                               95   50,388   Office expense
      2/8/18         Reversal                        31            50,419   Bank Correction
14    2/8/18    3024 Jeffrey & Patricia Kiser              2,050   48,369   “CN0007 4th QTR”
      2/8/18    3023 Jeffrey & Patricia Kiser              2,050   46,319   “CN0007 3rd QTR”
15    2/8/18    3033 Jose Munoz                            1,783   44,536   Maintenance
      2/8/18         The Home Depot                            4   44,532   Repairs
16    2/8/18         The Home Depot                          246   44,286   Repairs
      2/9/18         Customer Withdrawal                   3,000   41,286   W/D Chris
                                                                            Dougherty
17
      2/9/18           DONATO S ITALIAN                       35   41,251   Meals
      2/9/18           Mobile Banking                      3,000   38,251   Transfer to Nereida
18                     Transfer                                             & Christopher
                                                                            Dougherty - US
19                                                                          Bank 0822
      2/12/18          Deposit                    12,000           50,251   Christopher
20                                                                          Dougherty

21
                                                      22
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 1    2/12/18 996    Deposit                    2,500             52,751   C&D Prof Svcs -
                                                                           BofA 3774
 2    2/12/18 3030 Melvin & Helen Rader                  2,150    50,601   Payment to
                                                                           investor
      2/12/18        Customer Withdrawal                 7,000    43,601   W/D Chris
 3
                                                                           Dougherty
      2/12/18 3034 JTA Farm                              15,000   28,601   To Dougherty
 4                                                                         controlled company
      2/12/18 3037 James Lara                              910    27,690   Computer exp
 5    2/12/18 3035 JTA Real Estate                       4,000    23,690   To Dougherty
                                                                           controlled company
 6    2/12/18        INTUIT QB ONLIN                        15    23,675   Office expense
      2/12/18        POSTALANNEX 201                        55    23,620   Office expense
 7    2/12/18        JANET S MONTANA                       187    23,433   Meals
      2/12/18        MICROSOFT STO                         230    23,203   Office expense
 8    2/13/18        Deposit                    11,000            34,203   C&D Prof Svcs -
                                                                           BofA 3774
 9    2/13/18        Branch Telephone           1,500             35,703   Transfer from Acct
                     Transfer                                              0822
10    2/13/18        Branch Telephone           1,500             37,203   Transfer from
                     Transfer                                              Nereida &
                                                                           Christopher
11                                                                         Dougherty - US
                                                                           Bank 0822
12
      2/13/18        CAROL POULIOT                       11,000   26,203   Payment to
                                                                           investor
13    2/13/18 3040 JTA Real Estate                       15,000   11,203   Rent

14
     Id.
15
           In March 2018, C&D received two investments totaling $140,000 from the
16
     Spruill Family Trust. The balance in Bank of America account ending in 3774 was
17
     $857.45 when $120,000 was received from the Spruill Family Trust on March 15,
18
     2018. See Dennis Decl. at ¶ 43. By March 21, the balance of the account had been
19
     reduced to $43,220.86. Id. On March 22, a $20,000.00 wire transfer from Harriet
20

21
                                                    23
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 1   Mann Taniyama was received. By March 30, the balance of the account had been

 2   reduced to $5,455.92. Id.; Exh. 8 to Dennis Decl.

 3           From the bank documents, the UST prepared an accounting of how the

 4   $140,000 was spent. Id. Legible notations from copies of the investor canceled

 5   checks in Exhibit 8 are designated with quotation marks:

 6                                                       With/     Bank
      Date      Ck #   Paid to/Received from    Deposits drawals   Balance   Description
 7    3/15/18      Beginning balance                                  857
      3/15/18      Wire credit                  120,000            120,857   Alan Silver
 8    3/16/18      Bank Fees                                  15   120,842   Bank fees
      3/16/18      Wire out                               12,000   108,842   JTA Real Estate
 9    3/16/18      Bank Fees                                  30   108,812   Bank fees
      3/16/18 4005 Cardmember Services                     9,000    99,812   Credit card payment
10    3/16/18 4004 James Lara                                900    98,912   Office
      3/16/18      Customer withdrawal                     3,750    95,162   W/D Chris Dougherty
      3/19/18      Auto Radio Specialists                    199    94,963   Auto
11
      3/19/18      Amazon Mktplace PMTS                        8    94,956   Amazon
      3/19/18      Wild Bills Wst                            615    94,341   Clothing
12
      3/19/18      Vintana Restaurant                        172    94,169   Meals
      3/19/18      INTUIT *QB ONLINE                          15    94,154   Office
13
      3/19/18      The Gambling Cowboy                        31    94,123   Meals
      3/19/18      Filippi's Pizza Grotto                     55    94,068   Meals
14    3/19/18      Amazon Mktplace Pmts                      395    93,674   Amazon
                   WW
15    3/19/18      The Bank Of Mexican Foo                   216    93,458   Meals
      3/19/18      ATM Withdrawal                            503    92,955   W/D Chris Dougherty
16    3/19/18      Bank Fees                                   3    92,952   Bank fees
      3/19/18 4002 Deborah Gerlack                           200    92,752   Bank fees
17    3/20/18      Cash withdrawal                         6,000    86,752   W/D Chris Dougherty
      3/20/18      Customer withdrawal                    10,000    76,752   W/D Chris Dougherty
18    3/21/18      TLR transfer to CHK 0222               27,000    49,752   Transfer toBofA Acct
                                                                             0222
      3/21/18 4003 Helena Dougherty                        6,500    43,252   Payment to
19                                                                           Dougherty family
                                                                             member
20    3/21/18          Fedex                                  31    43,221   Office

21
                                                  24
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 1    3/21/18        Albertsons Sto                           59    43,162   Food
      3/22/18        Wire in                      20,000             3,162   Harriet Mann
 2                                                                           Taniyama
      3/22/18 4007 Jeffrey & Harriet Taniyama                 800   62,362   Payment to investor
 3    3/22/18 4008 Christopher Dougherty                    2,500   59,862   W/D Chris Dougherty
      3/23/18      Bank Fees                                   15   59,847   Bank fees
      3/23/18      cash withdrawal                         10,000   49,847   W/D Chris Dougherty
 4
      3/23/18      Customer withdrawal                      1,295   48,552   W/D Chris Dougherty
      3/26/18      cash withdrawal                          1,000   47,552   W/D Chris Dougherty
 5
      3/26/18 4001 Steve Shafer                               600   46,952   “CN0018 4th QTR
                                                                             Dividend”
 6    3/26/18 4006 George & Roberta                        1,100    45,852   Payment to investor
                   Thompson
 7    3/26/18      TLR transfer to CHK 3868                2,000    43,852   RD3 Inc. - BofA 3868
      3/28/18      TLR transfer to CHK 3869                1,000    42,852   RD3 Inc. - BofA 3868
 8    3/28/18      cash withdrawal                         2,000    40,852   W/D Chris Dougherty
      3/28/18      TLR transfer to Chk 0222                5,000    35,852   Transfer toBofA Acct
                                                                             0222
 9
      3/28/18      Wire out                                 5,000   30,852   JTA Farm Enterprises
      3/28/18      Bank Fees                                   30   30,822   Bank fees
10    3/28/18 4009 Sixta Y Loyo                               220   30,602   “4th Qtr CN0029”
      3/28/18 4010 CRS - CA REG SERVICES                      916   29,686   Office
11                 INC
      3/29/18      TLR transfer to CHK 0222                21,500   8,186    Transfer to BofA Acct
12                                                                           0222
      3/29/18        Jacko Law Group Pc                     1,602   6,584    Legal
13    3/29/18        Fedex                                     90   6,494    Office
      3/30/18        Fedex                                     38   6,456    Office
      3/30/18        ON THE BORDER                            100   6,356    Meals
14
      3/30/18 4011   James Lara                               900   5,456    Office

15

16   Id.

17         The Debtors provided the UST with a copy of a letter to Alan and Aleica

18   Silver on JTS Cattle & Hay Broker Services letterhead dated April 20, 2017. See

19   Dennis Decl. at ¶ 44. The letter thanks the Silvers for becoming an investor and

20   confirms that $120,000 was invested on March 15, 2018 into a hay brokerage deal

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 1   paying a dividend of 10%. Id.; Exh 9 to Dennis Decl. As noted above, the Bank of

 2   America statement for account ending in 3774 for March 2018 contained no

 3   evidence that the $120,000 received from the Silvers was invested in a hay

 4   brokerage deal, which is completely contrary to the representation made to the

 5   Silvers in the April 20, 2017 letter. Id.

 6           The balance in Bank of America accounting ending in 3774 was an overdraft

 7   of <$1,481.90> when $50,000 was received from the Spruill Family Trust on May

 8   2, 2018. Dennis Decl. at ¶ 45. By May 11 when the funds had been spent, the

 9   balance of the account had been reduced to a further overdraft balance of

10   <$6,218.65>. Id.; Exh. 10, 11 to Dennis Decl.

11           From the bank documents, the UST prepared an accounting of how the

12   $50,000 was spent. Id. Legible notations from copies of the investor canceled

13   checks in Exhibits 10 and 11 are designated with quotation marks:

14                                                            With/   Bank
      Date     Ck #   Paid to/Received from          Deposits drawals Balance Description
15    5/2/18          Beginning balance                                  (1,482)
      5/2/18          Wire in                           50,000           48,518     Spruill Family Trust
16    5/2/18          Return item                                4,500   44,018     Charge for amount
                                                                                    originally
17                                                                                  deposited 4/27/18
      5/2/18        Bank Fees                                      12    44,006     Bank fees
18    5/2/18   4030 Returned of posted                    200            44,206     Bank adjustment
                    check/Item received on 5-1                                      for C&D NSF check
                                                                                    posted 5/1/18
19    5/2/18   4032 Elena Totten                                 1,650   42,556     Payment to
                                                                                    investor
20    5/2/18          Customer Withdrawal Image                  5,210   37,346     W/D Chris
                                                                                    Dougherty
21
                                                   26
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 1    5/2/18          Customer Withdrawal Image                4,800   32,546     W/D Chris
                                                                                  Dougherty
 2    5/2/18    4036 Sixta Y Loyo                               200    32,346     Payment to
                                                                                  investor
      5/2/18    4039 Mary Gilbert                               450    31,896     Payment to
 3                                                                                investor
      5/2/18         DESTINATION XL                              459   31,438     Travel
 4    5/3/18         Bank Fees                                    15   31,423     Bank fees
      5/4/18         PAYCYCLE INC                                  1   31,422     Office
 5    5/4/18         EGNYTE INC                                  140   31,282     Office
      5/7/18         HOMESTEAD BAR & GRILL                        57   31,225     Meals
 6    5/7/18         INTUIT *QB ONLINE                            17   31,208     Office
      5/7/18         INTUIT *QB ONLINE                            15   31,193     Office
 7    5/7/18         Chevron                                     100   31,093     Auto
      5/7/18         Chevron                                      78   31,015     Auto
 8    5/7/18    4014 The Spa & Patio Store                     5,577   25,438     Christopher
                                                                                  Dougherty
      5/7/18          Customer Withdrawal Image                5,010   20,428     W/D Chris
 9                                                                                Dougherty
      5/8/18         AMAZON MKTPLACE PMTS                          8   20,421     Amazon
10    5/8/18    4045 Melba Summers                             5,000   15,421     “Principal
                                                                                  Withdrawl”
11    5/9/18       BJS RESTAURANTS 497                           52    15,369     Meals
      5/9/18       AMAZON MKTPLACE PMTS                         395    14,974     Amazon
                   WW
12
      5/9/18 4048 James Lara                                   1,050   13,924     Office
      5/10/18      INTUIT *QB ONLINE                              15   13,909     Office
13
      5/10/18      CHEVRON/CSI                                    85   13,824     Auto
      5/10/18 4046 Melba Summers                               5,000    8,824     “Principal
14                                                                                Withdrawl”
      5/11/18         REDTAIL TECHNOLOGY                         75     8,749     Office
15    5/11/18         CHEVRON/CSI                                85     8,664     Auto
      5/11/18         Counter Credit                   2,000           10,664     Counter
16                                                                                credit/deposit
      5/11/18      PAYCYCLE INC                           1            10,665     Other
17    5/11/18 4047 Brian & Sharon Taylor                       3,053    7,611     “CN0003 1st QTR
                                                                                  Dividend”
      5/11/18 4033 Jerry & Anita Cole                          6,502    1,109     “CN0033 1st QTR
18                                                                                Dividend”
      5/11/18 4043 CHECK #4043                                 7,327   (6,219)    This debtors check
19                                                                                was returned NSF
                                                                                  on 5/14/18
20

21
                                                  27
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 1   Id.

 2         From the UST’s review of available bank statements, the UST has found that

 3   the $1,159,378.46 received by the Debtors from investors during the time period

 4   December 8, 2017 through May 2, 2018 were used for several purposes, none of

 5   which constituted investment of the funds for the benefit of those investors. See

 6   Dennis Decl. at ¶ 46.

 7         The Debtors’ practice of using new investment money to pay existing

 8   investors dividends and principal gave the false impression that the payments

 9   received by investors came from earnings and profits or from a return of their

10   principal. This deception is the basis of a Ponzi scheme. See Dennis Decl. at ¶ 47.

11                MEMORANDUM OF POINTS AND AUTHORITIES

12   I.    Cause Exists To Convert This Case To One Under Chapter 7

13         Section 1112(b)(1) provides that a chapter 11 case may be dismissed or

14   converted to chapter 7, whichever is in the best interests of creditors, if the movant

15   establishes “cause.” 11 U.S.C. § 1112(b)(1). The Bankruptcy Code contains

16   several examples of what constitutes “cause”, including gross mismanagement and

17   substantial or continuing loss to or diminution of the estate and the absence of a

18   reasonable likelihood of rehabilitation. 11 U.S.C. §§1112(b)(4)(A),

19   1112(b)(4)(B).

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                                                28
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 1         The Court may find that “cause” exists to dismiss or convert this case to one

 2   under chapter 7 by finding that one or more of the enumerated factors defined in

 3   Section 1112(b)(4) is or are present. Or, the Court may find that “cause” exists for

 4   any reason cognizable to the equitable powers of the Court. In re Hampton Hotel

 5   Investors, L.P., 270 B.R. 346, 358 (Bankr. S.D.N.Y. 2001); see also Loop Corp. V.

 6   U.S. Trustee, 379 F3d. 511, 515, n2 (8th Cir. 2004)(enumerated list found in

 7   Section 1112(b)(4) is not an exclusive one, and the Court is not limited to those

 8   specifically enumerated examples to find that “cause” exists to dismiss or convert a

 9   case to chapter 7). Cause exists to dismiss or convert the instant case to one under

10   chapter 7 as follows:

11         A. Unexcused Failure to Satisfy Timely Any Filing Or Reporting
           Requirement And Failure To Timely Provide Information Reasonably
12         Requested By The UST

13
           Pursuant to section 1112(b)(4)(F) of the Bankruptcy Code, cause to dismiss
14
     or convert a case is present when a debtor fails to satisfy timely any filing or
15
     reporting requirement established by this title or by any rule applicable to a case
16
     under this chapter. See 11 U.S.C. § 1112(b)(4)(F). Pursuant to Sections 1107(a),
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     1106(a)(1), and 704(8) of the Bankruptcy Code, the Debtors are required to file
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     with the Court and the UST periodic reports and summaries of their operations,
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     including a statement of receipts and disbursements. See 11 U.S.C. § 1106(a)(1).
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 1         In addition, pursuant to Section 1112(b)(4)(H) of the Bankruptcy Code, a

 2   debtor’s failure to timely provide information reasonably requested by the UST

 3   constitutes cause to dismiss or convert a bankruptcy case. See 11 U.S.C. §

 4   1112(b)(4)(H).

 5         In this case, the Debtors have failed to timely file monthly operating reports

 6   since the case inception and have failed to timely provide information reasonably

 7   requested by the UST. The Debtors filed their case on October 9, 2018, but failed

 8   to file their October 2018 and November 2018 reports until January 16, 2019. See

 9   Dennis Decl. at ¶ 3. Similarly, their December 2018 report was filed late on

10   February 5, 2019. The substantial delays in filing the early reports hampered the

11   ability of the UST and creditors to monitor the Debtors’ spending and to bring

12   irregularities to the Court’s attention. Despite having told the Debtors during the

13   341 meetings to close their pre-petition accounts, the UST did not discover until

14   review of the late-filed monthly operating reports that the Debtors continued to use

15   their PayPal and Venmo accounts post-petition. Statements for these accounts pre-

16   petition and post-petition have not been provided.

17         In addition, the monthly operating reports are wholly inadequate. The

18   Debtors filed reports containing perfunctory and incomplete information

19   concerning their deposits and withdrawals, prompting the UST to propound 38

20   questions on the Debtors regarding their transactions. See Dennis Decl. at ¶ 2. In

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 1   their monthly operating reports, the Debtors failed to include copies of checks and

 2   failed to explain the nature of many transfers between their account and various

 3   undisclosed accounts, some of which appear to belong to their minor children. The

 4   Debtors’ subsequent explanations for these transactions was inadequate and

 5   unsatisfactory. See Dennis Decl. at ¶ 2; Exh 12 to Dennis Declaration. It is clear

 6   that under section 1112(b)(4)(F) of the Bankruptcy Code, cause to dismiss or

 7   convert a case is present.

 8         The Debtors have also failed to timely provide information reasonably

 9   requested by the UST. Following the initial session of the 341 meeting of

10   creditors, on December 6, 2018, the UST began requesting documents from the

11   Debtor, and followed up with several additional requests following additional

12   sessions of the meeting of creditors. See Dennis Decl. at 1; Exh 1 to Dennis Decl.

13         Notably, the Debtors have failed to open debtor-in-possession accounts and

14   failed to close their pre-petition accounts. Also of importance is that the UST

15   requested bank statements for all of the Debtors’ entities, and upon review of the

16   documents, discovered that 22 bank accounts remained undisclosed. Id. The bank

17   statements reviewed by the UST reveal numerous large cash withdrawals by the

18   Debtors. The UST requested information from the Debtors about these

19   withdrawals, which has not been forthcoming. Id. These are only a few examples

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 1   of the deficiencies. A complete list of all outstanding items is set forth in

 2   paragraph 1 of the Dennis Declaration.

 3         Pursuant to Section 1112(b)(4)(H) of the Bankruptcy Code, a debtor’s

 4   failure to timely provide information reasonably requested by the UST constitutes

 5   cause to dismiss or convert a bankruptcy case. See 11 U.S.C. § 1112(b)(4)(H).

 6   Without timely receipt of information concerning the Debtors’ business and

 7   financial affairs, the UST can’t effectively and meaningfully investigate problems

 8   and monitor the progress of the case towards rehabilitation. Here, the Debtors

 9   have not been forthcoming with requested information timely and while the UST

10   has formulated an accurate picture of the problems with the Debtors’ business and

11   financial affairs, the full scope of the issues is likely unknown due to the Debtors’

12   lack of compliance. The UST has established cause for conversion of the case.

13         B.     Gross Mismanagement Of The Estate

14         Evidence of gross mismanagement of the Estate constitutes cause for

15   conversion under Section 1112(b)(4)(B) of the Bankruptcy Code. The following

16   activities and omissions by the Debtors constitute gross mismanagement of the

17   Estate: (1) filing an improper Involuntary Petition on March 13, 2019 against JTA

18   Real Estate; (2) spending Estate funds on unnecessary and/or discretionary items;

19   (3) spending Estate funds on expenses for related entities; (4) failing to prepare

20   proper and complete accountings of Estate revenues and expenses; (5) spending

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 1   monies in excess of insider compensation permitted by the Court; (6) filing Rule

 2   2015.3 reports for the Debtors’ related entities that contain inaccurate and

 3   misleading information; and (7) failing to pay debt service post-petition.

 4           On March 14, 2019, the UST received notice that Christopher Dougherty

 5   signed and filed an involuntary petition against JTA Real Estate, case number 19-

 6   01366-LT11. See Dennis Decl. at ¶ 48; Exh 13 to Dennis Decl. There were no

 7   petitioning creditors included in the filing other than Christopher Dougherty.

 8   Although Mr. Dougherty indicated in the petition that he is owed “compensation”

 9   in the amount of $35,000, this claim is not listed in the Debtors’ Schedule B. Id.

10   Upon information and belief, the filing by Christopher Dougherty was improper

11   under the requirements for an involuntary petition pursuant to the Bankruptcy

12   Code.

13           The Debtors have obtained two Orders authorizing insider compensation.

14   The first Order was entered on November 19, 2018 (docket no. 38) and permits the

15   Debtors to spend the monthly amount of $6,527.33. The second Order was entered

16   on February 7, 2019 (docket no. 126) and permits the Debtors to spend an

17   additional $6,500 per month, for total monthly insider compensation of

18   $13,027.33. The disbursements reported in the monthly operating report for

19   November 2018 were $29,764.27. See Dennis Decl. at ¶ 9. The disbursements

20   reported in the monthly operating report for December 2018 were $25,677.95. Id.

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 1   The Debtors have been unjustifiably spending in excess of the amounts authorized

 2   by this Court as insider compensation.

 3         A review of the Debtors’ post-petition spending reveals that thousands of

 4   dollars have been expended on luxury and unnecessary items, including fraternity

 5   dues, monthly volleyball fees in excess of $500, college tuition for the Debtors’

 6   adult child, and expenses for a timeshare resort. See Dennis Decl. at ¶ 2; Exh 12 to

 7   Dennis Decl. The Debtors have not explained why the Estate is using funds to pay

 8   these items when creditors have not been paid.

 9         The Debtors have also been paying for expenses for their related entities

10   from Estate funds. See Dennis Decl. at ¶ 4. These expenses include: feed for

11   cattle, rent for C&D, storage fees for trucks, and labor for work on the ranch. Id.

12   The Debtors have offered no explanation why the Estate is paying expenses for

13   their related entities. From a review of the monthly operating reports and the Rule

14   2015.3 Reports, the UST is not aware of any accounting or bookkeeping entries for

15   post-petition expenses of these entities being paid by the Estate. Clearly, the

16   Debtors are not capable of properly managing their affairs as debtors-in-

17   possession.

18         The monthly operating reports reflect numerous transfers between the

19   Debtors and accounts apparently belonging to their children. See Dennis Decl. at ¶

20   10. The reports include references that are unclear, such as “transfer from shares

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 1   Alexis M Dougherty”. Id. A detailed list of the transfers is included in paragraph

 2   10 of the Dennis Declaration. As previously discussed in this Motion, the UST has

 3   requested copies of statements from all bank accounts, but has not received

 4   statements for accounts belonging to their children or other family members. Id.

 5         The Debtors have not been paying debt service post-petition. See Dennis

 6   Decl. at ¶ 26. The January 2019 monthly operating report reflected that the

 7   Debtors had not made four post-petition payments to HSBC and two post-petition

 8   payments to Lyon. Stay relief motions filed by Mascot Realty Inc. and Smarter

 9   Capital Investments, LLC reveal additional post-petition payments that have not

10   been made. See Dennis Decl. at ¶ 27. Charts outlining these post-petition

11   delinquencies are set forth in paragraphs 26 and 27 of the Dennis Declaration. The

12   Debtors’ failure to pay debt service might prove fatal with respect to any

13   reorganization efforts.

14         Moreover, the Debtors’ mismanagement is exacerbated when the UST

15   cannot obtain information and documents in a reasonable and efficient manner.

16   The Debtors have not managed the Estate in accordance with their obligations as

17   debtors-in-possession. Cause for conversion has been established.

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 1         C.    Continuing Loss to the Estate and Absence of a Reasonable
           Likelihood of Rehabilitation
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 3         11 U.S.C. § 1112(b)(4)(A) allows this court to dismiss or convert a case

 4   where there is continuing loss to the estate, and the absence of a reasonable

 5   likelihood of rehabilitation. Section 1112(b)(4)(A) effectuates the purpose of

 6   Section 1112(b)(1), which is “to preserve estate assets by preventing the debtor in

 7   possession from gambling on the enterprise at the creditors' expense when there is

 8   no hope of rehabilitation.” Loop Corp. v. U.S. Trustee, 379 F.3d 511, 516 (8th Cir.

 9   2004). Diminution need not be significant; all that is required “is that the estate

10   has suffered some diminution in value.” In re Mense, 509 B.R. 269, 284 (Bankr.

11   C.D. Cal. 2014) (internal citation omitted). In turn, “[r]ehabilitation contemplates

12   the successful maintenance of the debtor’s business operations.” Id. (internal

13   quotation marks and citation omitted).

14         Thus, the “issue of rehabilitation for purposes of § 1112(b)(4)(A) is not a

15   technical one of whether the debtor can confirm a plan, but, rather, whether the

16   debtor’s business prospects justify continuance of the reorganization effort.” In re

17   Hassen Imports Partnership, 2013 WL 4428508 (9th Cir BAP Aug. 19, 2013); See

18   also In re Mense, 509 B.R. at 284 (“[a] reasonable likelihood of rehabilitation is

19   absent when the debtor’s business operations do not justify continuance of the

20   reorganization effort.”).

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 1         There is robust evidence of continuing losses to the Estate and similarly

 2   strong indications that successful reorganization is unlikely and there are no

 3   prospects that justify continuation of the chapter 11 case. At the session of the 341

 4   meeting of creditors held on January 15, 2019, Christopher Dougherty testified that

 5   JTA Real Estate would file a chapter 11 case and then file a joint plan of

 6   reorganization with the Debtors. Dennis Decl. at ¶ 13. He further testified that the

 7   plan would be funded by a sale of the ranch at 21702 Japatul Road in Alpine,

 8   which is owned by JTA Real Estate, as well as through income generated by the

 9   use of the trucks owned by JTA Real Estate. Id. At this time, it does not appear

10   that either avenue of funding would lead to a confirmable plan for the Debtors or

11   otherwise constitute prospects that justify the Debtors remaining in chapter 11.

12         JTA Real Estate did not file a Chapter 11 case, as Christopher Dougherty

13   testified it planned to do. On March 13, 2019, Christopher Dougherty filed an

14   involuntary petition against JTA Real Estate. The propriety of this action might

15   have unfavorable consequences for the Debtors’ Estate. With respect to the

16   reorganization of the Debtors, however, this action by Christopher Dougherty

17   likely does not further his efforts to achieve a sale and joint plan for the benefit of

18   the creditors in this case. In filing the involuntary petition, Christopher Dougherty

19   is stating that his entity, JTA Real Estate, is insolvent and can’t re-pay its creditors.

20   This does not bode well for either the Debtors or JTA Real Estate.

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 1         In addition, a review of the 2015.3 periodic reports filed by the Debtors for

 2   JTA Real Estate reveal that it does not operate profitably. As explained earlier in

 3   this Motion, the Rule 2015.3 reports filed for JTA Real Estate reflect losses for all

 4   periods except for January 2018 - November 2018, which purports to report a gain

 5   of $96,963.35. Dennis Decl. at ¶ 17. When the UST adjusted the profit and loss

 6   statement for “Reconciliation Discrepancies”, the adjustment resulted in a loss of

 7   <$477,830.80>. Dennis Decl. at ¶ 18.

 8         The Rule 2015.3 reports filed by the Debtors for JTA Farms similarly reflect

 9   that it is not operating profitably and also reveal questionable accounting. When

10   the UST made appropriate adjustments, there was a net loss in 2017 of

11   <$194,387.64>. Dennis Decl. at ¶ 19 – 20. The profit and loss statement included

12   with the Rule 2015.3 report for January to December 2018 reports a loss of

13   <$78,498.16>. Dennis Decl. at ¶ 21.

14         Also, this report for JTA Farms contained unusual accounting. Dennis Decl.

15   at ¶ 22. The general ledger included with the report reveals that $105,000 in

16   income consisted of “equity deposits” received from the “Dougherty Family Trust

17   Fund”. Id. These deposits consisted of six $15,000 monthly receipts received

18   between February 1, 2018 and July 1, 2018. Id. The general ledger also reported

19   $155,097.77 in “Reconciliation Discrepancies” that are not explained in the report.

20   Id.

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 1         When the UST adjusted the 2018 profit and loss statement for “equity

 2   deposits” and “reconciliation discrepancies”, the adjusted net loss for this period

 3   was <$28,379>. Dennis Decl. at ¶ 23.

 4         The profit and loss statement included with the 2015.3 report for January

 5   2019 for JTA Farms also includes a $15,000 equity deposit apparently received in

 6   January 2019 and classified as income. Dennis Decl. at ¶ 24. The general ledger

 7   included with the report did not include an account for equity contributions.

 8   Therefore, the UST was unable to determine if the source of the $15,000 was also

 9   the Dougherty Family Trust Fund. Dennis Decl. at ¶ 25. The Debtors’ January

10   2019 Operating Report does not include any disclosure about this $15,000, and

11   does not reference the Dougherty Family Trust Fund. Id. To date, the UST has

12   been unable to determine the source of funds associated with the Dougherty

13   Family Trust Fund.

14         In addition, the Debtors cannot reorganize using income from the trucks

15   owned by JTA Real Estate. The Debtors testified during the 341 meeting of

16   creditors that their entity, RD3, Inc., is a trucking business that purportedly

17   operates using trucks owned by JTA Real Estate. However, upon information and

18   belief, RD3 does not currently have business operations and also, has never

19   profitably operated a trucking business.

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 1         The Debtors filed four Rule 2015.3 periodic reports for RD3, Inc., which

 2   collectively cover the time period January 2016 through January 2019. These

 3   reports reflect net gains and losses that demonstrate that RD3, Inc.’s operations do

 4   not have the ability to fund a plan. Dennis Decl. at ¶ 16. Furthermore, a review of

 5   the associated general ledgers shows that 71.2% of the income reported income for

 6   2017 and 86.6% of the income reported by RD3, Inc. for 2018 was for work

 7   performed for entities controlled by the Debtors. Dennis Decl. at ¶ 15. A

 8   summary of the reported income of RD3, Inc. is set forth in paragraph 15 of the

 9   Dennis Declaration.

10         The Rule 2015.3 reports show that RD3, Inc. does not have revenues from

11   third party customers that could fund a chapter 11 plan. Dennis Decl. at ¶ 16.

12   There is no basis to conclude that the Debtors have experience operating a

13   business, using the trucks owned by JTA Real Estate, with revenues sufficient to

14   fund a chapter 11 plan. Id.

15         Also impacting any reorganization efforts is that the operating reports and

16   the motions for relief from the automatic stay filed in this case report that the

17   Debtors are delinquent on the pre and post-petition mortgage obligations. Dennis

18   Decl. at ¶ 26. The January 2019 Operating Report reports post-petition

19   delinquencies to HSBC and Lyon/Chestnut. Id. Moreover, the Court docket for

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 1   this case reveals that 12 adversary complaints predicated on section 523 to

 2   determine dischargeability of debt have been filed against the Debtors.

 3         The entities owned by the Debtors have demonstrated pre-petition and post-

 4   petition that they do not have the ability to generate net income that can be used to

 5   fund a plan. See Dennis Decl. at ¶ 29. RD3, Inc. is not operating and neither JTA

 6   Farms nor JTA Real Estate is able to produce net income. Id. The Debtors and

 7   their entities have been unable to timely pay their monthly post-petition mortgage

 8   payments and appear to have no ability to fund the defense of the 12 adversary

 9   proceedings. Indeed, it was reported by Debtors’ counsel on the record during the

10   hearing on February 28, 2019 that the Debtors had instructed him not to oppose

11   any adversary proceeding and to stipulate to the full amount being requested in

12   each adversary complaint. The liability of the Estate attributable to these adversary

13   proceedings is currently unknown.

14         The losses to the Estate are substantial and continuing, and the Debtors are

15   unlikely to be able to successfully reorganize. The Debtors have not demonstrated

16   any business prospects that justify continuing this chapter 11 case. Cause for

17   conversion has been established.

18         D.     Conversion to Chapter 7 is in the Best Interests of the Estate

19         There are many unanswered questions in this case, and it should be closely

20   examined by a trustee. A pressing question concerns the final disposition of the

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 1   proceeds received from investors. As set forth earlier in this Motion, it appears

 2   that over $1.1 million received from investors in 2018 was not invested, a portion

 3   of which might be in the possession of the Debtors in the form of cash. A trustee

 4   should consider the possibility of undisclosed accounts and assets, including the

 5   accounts apparently belonging to the Debtors’ children.

 6          In addition, a trustee is in the best position to determine the appropriate

 7   course of action with respect to the Debtors’ interest in their closely-held entities.

 8   A trustee should step into their shoes to manage and direct those interests in the

 9   best interests of creditors. It’s clear that an independent party should examine the

10   case and make a recommendation for the final disposition of the case.

11   II.    In The Alternative, A Chapter 11 Trustee Should Be Appointed

12          The UST is aware that the Debtors collect rents from real property owned by

13   the Debtors and that they own substantial percentages of four closely-held

14   businesses. Although it is not immediately clear to the UST that the Debtors have

15   active business operations that warrant the appointment of a chapter 11 trustee, the

16   UST has been misled by the Debtors in this case, and does not trust their

17   representation of the status of the operations. In addition, the UST wishes to

18   consider and preserve the possibility that a chapter 11 trustee might be needed due

19   to the difficulties in administering the complexities of the case and the business

20   interests.

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 1         Section 1104(a) of the Bankruptcy Code provides:

 2         At any time after the commencement of the case but before confirmation of
           a plan… the court shall order the appointment of a trustee-
 3                (1) for cause, including fraud, dishonesty, incompetence, or gross
           mismanagement of the affairs of the debtor by current management, either
 4         before or after the commencement of the case…
                  (2) if such appointment is in the interest of creditors, any equity
 5         security holders, and other interests of the estate…

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     11 U.S.C. § 1104(a).
 7
           In this case, the Debtors have been managing the affairs of the bankruptcy
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     estate as Debtors-in-Possession since the commencement of the chapter 11 case.
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     The Debtor-in-Possession is a fiduciary for the estate and its creditors. See In re
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     Count Liberty, LLC, 370 B.R. 259, 275-76 (Bankr.C.D.Cal. 2007), citing
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     Thompson v. Margen (In re McConville), 110 F.3d 47, 50 (9th Cir. 1997);
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     Woodson v. Fireman’s Fund Ins. Co. (In re Woodson), 839 F.2d 610, 614 (9th Cir.
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     1988); and Devers v. Bank of Sheridan Montana (In re Devers), 759 F.2d 751, 754
14
     (9th Cir. 1985).
15
           In this case, “cause” for appointment of a chapter 11 trustee exists under
16
     section 1104(a)(1) of the Bankruptcy Code due to pre-petition fraud and post-
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     petition gross mismanagement. The Debtors’ post-petition gross mismanagement
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     has been outlined earlier in this Motion with respect to the UST’s argument that
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 1   cause to convert the case has been established pursuant to Section 1112(b)(4)(B) of

 2   the Bankruptcy Code.

 3         As also noted earlier in this Motion, the UST has found substantial and

 4   credible evidence that, pre-petition, the Debtors engaged in a Ponzi scheme with

 5   respect to funds received from investors. From the UST’s review of available bank

 6   statements, the UST has found that the $1,159,378.46 received by the Debtors

 7   from investors during the time period December 8, 2017 through May 2, 2018

 8   were used for several purposes, none of which constituted investment of the funds

 9   for the benefit of those investors. See Dennis Decl. at ¶ 46.

10         The Debtors’ practice of using new investment money to pay existing

11   investors dividends and principal gave the false impression that the payments

12   received by investors came from earnings and profits or from a return of their

13   principal. This deception is the basis of a Ponzi scheme. See Dennis Decl. at ¶ 47.

14   This Ponzi scheme is clearly fraud that constitutes “cause” within the meaning of

15   Section 1104(a) of the Bankruptcy Code.

16         In addition, Section 1104(a)(2) creates a flexible standard for appointing a

17   trustee when it is in “the interests of creditors, equity security holders and other

18   interests of the estate.” In re: SonicBlue Inc., 2007 Bankr, LEXIS 1057 *30

19   (Bankr. N.D. Cal. 2007), quoting, In re Sharon Steel Corp., 871 F.2d 1217, 1226

20   (3d Cir. 1989). The Debtors are currently subject to 12 adversary proceedings filed

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 1   by creditors under Section 523 requesting that debts be declared non-

 2   dischargeable. Conflict between a debtor and its creditors can constitute cause for

 3   appointment of a Chapter 11 Trustee. In re Marvel Entertainment Group, Inc.,

 4   140 F.3d 463, 472-73 (3rd Cir. 1998).

 5         In addition, as the facts continue to unfold, the UST would like to preserve

 6   the opportunity to request that the Court consider appointment of a chapter 11

 7   trustee if it becomes known prior to the hearing on this Motion that either the

 8   Debtors’ business operations are such that a chapter 11 trustee is needed for

 9   ongoing business operations or the Debtors’ business interests and financial affairs

10   are too complex to be appropriately handled within the context of a chapter 7 case.

11                                     CONCLUSION

12         These Debtors cannot remain in possession due to their mismanagement of

13   the Estate, their inability to successfully reorganize, their failure to timely comply

14   with reporting requirements and UST requests for information, and their pre-

15   petition fraudulent conduct with investor funds. A trustee must be appointed for

16   cause and in the best interest of creditors. The UST would like to further consider,

17   and asks that the Court and creditors further consider, whether a chapter 7 trustee

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 1   or a chapter 11 trustee would best serve the interests of the Estate and creditors in

 2   this case.

 3                                             Respectfully submitted,

 4
                                               TIFFANY L. CARROLL
 5                                             ACTING UNITED STATES TRUSTEE

 6
       Dated: March 14, 2019                   By: /s/ Kristin T. Mihelic
 7                                                 Kristin T. Mihelic
                                                   Attorney for the Acting United
 8                                                 States Trustee

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